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                      UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

JOSHUA KAUFFMAN                                  :    Case No. 16-cv-170
                                                 :
               Plaintiff,                        :    Judge
                                                 :
       v.                                        :
                                                 :
ABUBAKAR ATIQ DURRANI, M.D., ET                  :            NOTICE OF REMOVAL
AL.                                              :
                                                 :
               Defendants.


 ___________________________________________________________________________
       Defendant Cincinnati Children’s Hospital Medical Center (“CCHMC”) hereby removes
to this Court the state court action described below. The removal is consented to by Abubakar
Atiq Durrani, M.D. (“Dr. Durrani”) and the Center for Advanced Spine Technologies, Inc.
(“CAST”) (collectively “Defendants”). Removal is warranted under 28 U.S.C. § 1332(d)(11).
In support of removal, Defendants state as follows:
                                        BACKGROUND

       Plaintiff commenced this action by filing a complaint in the Court of Common Pleas of

Hamilton County, in the State of Ohio, bearing case number A1503668. (“Complaint”) (attached

hereto as Exhibit A). Plaintiff alleges that Dr. Abubakar Atiq Durrani (“Dr. Durrani”) provided

negligent medical treatment that resulted in complications and injuries. Id. Plaintiff additionally

brings various claims against CCHMC arising out of this medical care including claims for

vicarious liability, negligent credentialing, supervision, and retention, fraud, and punitive

damages. Id.

       This case is one of hundreds of nearly identically pled suits against the Defendants (and

other hospitals) in Hamilton or Butler County. Plaintiffs have voluntarily dismissed and re-filed



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many of these cases. Each of these cases in Hamilton County has been consolidated before

Hamilton County Common Pleas Judge Robert Ruehlman. On December 7, 2015, in preparation

for a December 14 case management conference regarding all of the Hamilton County cases

(including those re-filed after being dismissed in Butler County), Plaintiffs’ counsel submitted to

Judge Ruehlman an unsolicited and lengthy “binder,” which included, among other things, a

number of motions, descriptions of Plaintiffs’ counsel’s positions on various pre-trial issues, and

lists of cases currently pending or which were to be filed. See Plaintiffs’ Binder for December

14, 2015 Case Management Conference (“Binder”) (attached hereto as Exhibit B). In all,

Plaintiffs’ counsel claimed to represent Plaintiffs in some 520 individual cases as part of this

litigation, including 172 already filed in Hamilton County, 258 that Plaintiffs’ counsel planned to

dismiss in Butler County and re-file in Hamilton County, and 40 more Butler County cases that

were the subject of a pending motion to transfer to Hamilton County as of December 7.1 Id., pp.

8, 19-29, 209-23, 226-235.

           In the Binder, Plaintiffs unambiguously requested that Judge Ruehlman set “ALL” of

these cases for one single, combined trial or, at a minimum, several smaller group trials. See,

e.g., Binder, p. 179-80 (listing “[o]ne scheduled trial for ALL cases [to begin] August 1, 2016”

as Plaintiffs’ top choice in a list of their “Preferences in Order of Preference for Trial Settings”);

id., p. 180 (listing “Group Trials with Many Options” as Plaintiffs’ second choice); id., p. 126

(stating that “[t]he Court has many options [for setting trial dates, including] [s]chedul[ing] one

trial. . . . [or] [s]et[ting] trials by groups . . . .”); id., pp. 153-177 (attaching and citing Suida v.

Howard, Nos. C-000656, C-000687, 2002 WL 946188 (Ohio Ct. App. May 10, 2002) for the

proposition that “group trials [are] allowed]”).

           Although Judge Ruehlman did not grant Plaintiffs’ request for a single trial, in a
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    This motion was later denied. Plaintiffs have filed a motion for reconsideration in each of those cases.

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December 15, 2015 order, the court scheduled several trials as follows:

               1) February 29, 2016: trial in Mike & Amber Sand v. Abubakar Atiq Durrani, et
               al., Hamilton County Common Pleas Case No. A 1506694;

               2) March 14, 2016: trial in Steven Andrew Schultz v. Abubakar Atiq Durrani, et
               al., Hamilton County Common Pleas Case No. A 1506861;

               3) May 2, 2016: trial in 14 cases involving Cincinnati Children’s Hospital
               Medical Center;

               4) August 1, 2016: trial in 24 cases involving “West Chester/UC Health and any
               hospital named as a Defendant in the C1C2/False Pannus cases,” which includes
               CCHMC;

               5) January 2, 2017: a “massive group trial” in “all remaining Dr. Durrani cases,”
               which “could take six months to a year.”

General Order on all Dr. Durrani Hamilton County Cases for Case Management Conference

December 14, 2015, Hamilton County Common Pleas Case No. A1506577 (“General Order”)

(attached hereto as Exhibit C), pp. 11-15.

       By proposing a joint trial of the claims of over 100 plaintiffs, Plaintiffs created a “mass

action,” as defined in 28 U.S.C. § 1332(d)(11), making this case (and the hundreds of others

covered by the proposal) removable.

              THIS CASE IS REMOVABLE AS PART OF A MASS ACTION

       This case is removable as part of a mass action, pursuant to the mass action provisions of

the diversity jurisdiction statute, 28 U.S.C. § 1332(d)(11). A removable mass action meets the

following requirements:


           a. It involves the monetary relief claims of 100 or more persons that are proposed to
               be tried jointly on the ground that the plaintiffs’ claims involve common questions
               of law or fact, see id. § 1332(d)(11)(B)(i);
           b. The aggregate amount in controversy, through Plaintiff’s allegations, exceeds
               $5,000,000 and the claims of the individual plaintiffs exceed $75,000, see id. §§

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               1332(a), (d)(2), (d)(11)(B)(i); and
           c. Any plaintiff is a citizen of a State different from any defendant, see id. §
               1332(d)(2)(A).
These requirements are satisfied here.
A.     The Plaintiffs’ Binder in the Hamilton County Action Proposed a Joint Trial of the
       Claims of 100 or More Persons
       This case is removable as part of a mass action. In the Binder submitted to Judge
Ruehlman, Plaintiffs’ counsel explicitly proposed that this case be tried jointly with hundreds of
other cases. See 28 U.S.C. § 1332(d)(11)(B)(i); Binder, pp. 126, 153-177, 179-80. Plaintiffs’

counsel based this request on its belief that these cases involve common questions of law or fact.
See 28 U.S.C. § 1332(d)(11)(B)(i); Binder, p. 179-80 (listing factors that all of the cases
proposed to be tried jointly “have in common”); id., p. 186 (“The claims against the hospital
Defendants are the same in each case. It’s silly to try the same fact issue against the hospital to
500 juries.”); id., p. 187 (listing factors “common to all cases”). Thus, the first mass action
requirement is satisfied.
       This element is met even though this case individually has less than a 100 Plaintiffs. The
Sixth Circuit has not addressed this issue. However, the Seventh, Eighth, and Ninth Circuits have
explicitly approved mass action removal of individual actions where each includes fewer than
100 plaintiffs, but the actions are proposed to be tried jointly and, combined, involve at least 100

plaintiffs. See In re Abbott Labs., Inc., 698 F.3d 568, 570-71 (7th Cir. 2012) (removal proper in
mass action consisting of ten cases with fewer than 100 plaintiffs each, where, combined, the
cases involved several hundred plaintiffs); Atwell v. Boston Scientific Corp., 740 F.3d 1160,
1161-62 (8th Cir. 2013) (removal proper in mass action consisting of three suits, each involving
fewer than 100 plaintiffs, even though each case involved fewer than 100 plaintiffs); Corber v.
Xanodyne Pharm., Inc., 771 F.3d 1218, 1220 (9th Cir. 2014) (removal proper in mass action
consisting of several cases, each of which had fewer than 100 plaintiffs but had “far more than
100 plaintiffs when considered together”).


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       Further, removal is proper over all cases that Plaintiffs proposed be tried jointly,
including those that are not part of the “massive group trial” set for January 2, 2017. The relevant
inquiry is whether Plaintiffs proposed a joint trial of the claims of 100 or more plaintiffs, not
whether the claims of 100 or more plaintiffs are actually adjudicated together in a single trial. As
the Seventh Circuit has noted:

               A proposal to hold multiple trials in a single suit (say, 72 plaintiffs
               at a time, or just one trial with 10 plaintiffs and the use of
               preclusion to cover everyone else) does not take the suit outside §
               1332(d)(11). Recall the language of § 1332(d)(11)(B)(i): any “civil
               action . . . in which monetary relief claims of 100 or more persons
               are proposed to be tried jointly” is treated as a “class action”. . . .
               The question is not whether 100 or more plaintiffs answer a roll
               call in court, but whether the “claims” advanced by 100 or more
               persons are proposed to be tried jointly.
Bullard v. Burlington N. Santa Fe Ry. Co., 535 F.3d 759, 762 (7th Cir. 2008) (emphasis added);

see also Atwell, 740 F.3d at 1163 (approving of Bullard and noting that “construing the statute to
require a single trial of more than 100 claims would render 28 U.S.C. § 1332(d)(11) ‘defunct’”);
In re Abbott, 698 F.3d at 573 (“[I]t does not matter whether a trial covering 100 or more
plaintiffs actually ensues; the statutory question is whether one has been proposed.’” (quoting
Bullard, 535 F.3d at 762)). Thus, the fact that that Judge Ruehlman scheduled two individual
trials as well as two group trials for 14 and 24 plaintiffs is irrelevant. Plaintiffs’ proposal,
standing alone, satisfies the first requirement of mass action removal as to each and every case
included in that proposal.
B.     The Amount in Controversy Is Satisfied
       Both the individual $75,000 and aggregate $5,000,000 amount in controversy
requirements for mass action removal are satisfied.          See 28 U.S.C. §§ 1332(a), (d)(2),
(d)(11)(B)(i). The face of Plaintiff’s Complaint alleges serious and “catastrophic injuries”, see
Compl. p. 70, therefore, the amount in controversy exceeds $75,000 for Plaintiff, individually.
Where, as here, plaintiffs allege serious bodily injuries, courts have readily found that the
amount-in-controversy requirement is satisfied. See In re Rezulin Prods. Liab. Litig., 133 F.

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Supp. 2d 272, 296 (S.D.N.Y. 2001); see, e.g., Smith v. Wyeth, Inc., 488 F. Supp. 2d 625, 630-31
(W.D. Ky. 2007); accord Copley v. Wyeth, Inc., No. 09-722, 2009 WL 1089663, at *2 (E.D. Pa.
Apr. 22, 2009). This is especially true, where, as here, there is a demand for punitive damages.
See Compl. p. 70; Smith v. Nationwide Property and Cas. Ins. Co., 505 F.3d 401, 408 (6th Cir.
2007) (“As a general rule, [amount-in-controversy] analysis must also take into account the
ability of [plaintiffs] to recover punitive damages, unless it is apparent to a legal certainty that
such cannot be recovered.”). Because Plaintiff’s allegations set forth a claim that exceeds
$75,000, the aggregate amount in controversy, which embraces the claims of the more than 500
individuals who proposed to have their claims tried jointly (and whose claims also exceed
$75,000 each), easily exceeds $5,000,000. Accordingly, the amount-in-controversy requirement
is satisfied.
C.      The Diversity Requirement Is Satisfied

        The diversity requirement for mass action removal is also met. See 28 U.S.C. §
1332(d)(2)(A), (d)(11)(A). For removal of a mass action, only “minimal diversity” is required,
i.e., at least one plaintiff must be diverse from one defendant. See id. Here, at least one
Defendant, CCHMC, is a citizen of Ohio for purposes of diversity, and a significant number of
Dr. Durrani’s patients whom he treated at CCHMC are residents of other states, such as
Kentucky and Indiana. See Sample of Diverse Plaintiffs (attached hereto as Exhibit D).
Therefore, all the jurisdictional requirements of mass action removal are met.
                     ALL REMOVAL PROCEDURES ARE SATISFIED
        Plaintiffs submitted to Judge Ruehlman the Binder proposing a joint trial of the claims of
more than 100 Plaintiffs on December 7, 2015. They e-mailed a copy of the Binder to
Defendants on that same date. Accordingly, this removal is timely, since it occurred “within 30
days after receipt by the defendant, through service or otherwise, of a copy of an amended
pleading, motion, order or other paper from which it [could] first be ascertained that the case is
one which is or has become removable.” See 28 U.S.C. § 1446(b)(3).



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       All Defendants consented to this removal, but regardless, the consent of all Defendants is
not required for mass action removal. See id. §§ 1332(d)(11), 1453(b).
       With respect to mass action jurisdiction, removal is not barred by the Ohio citizenship of
any Defendants. See id. § 1453(b).
       The Complaint is attached as Exhibit A. See id. § 1446(a). The Court’s General Order is
attached as Exhibit C. Id. The remaining process, pleadings, and orders are also attached hereto
as Exhibits E to G. Id.
       Written notice of this removal is being provided to all adverse parties and is being filed
with the clerk of the Hamilton County Court of Common Pleas. See id. § 1446(d).
       Defendants hereby reserve their right to amend this notice of removal.
       WHEREFORE, CCHMC respectfully removes this action from the Common Pleas
Court of Hamilton County, in the State of Ohio, to this Court.

                                                 Respectfully submitted,



                                                    s/ J. David Brittingham
                                                    J. David Brittingham, Esq. (0061577)
                                                    Allison G. Knerr, Esq. (0088235)
                                                    Michael J. Gray, Esq. (0086804)
                                                    Dinsmore & Shohl LLP
                                                    255 East Fifth Street, Suite 1900
                                                    Cincinnati, Ohio 45202
                                                    (513) 977-8200 Phone
                                                    (513) 977-8141 Fax

                                                    Counsel for Defendants Cincinnati Children’s
                                                    Hospital Medical Center




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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 6, 2016, the foregoing was served by electronic mail on

the following:

Matthew J. Hammer
The Deters Law Firm
5247 Madison Pike
Independence, KY 41051
Attorney for Plaintiff

Paul W. McCartney, Esq.
Jason A. Paskan, Esq.
Bonezzi, Switzer, Polito & Hupp Co., L.P.A.
312 Walnut Street, Suite 2530
Cincinnati, OH 45202
Attorneys for Defendant Abubakar Atiq Durrani, M.D.


Michael F. Lyon, Esq.
James F. Brockman, Esq.
David E. Williamson, Esq.
Lindhorst & Dreidame Co., L.P.A.
312 Walnut Street, Suite 3100
Cincinnati, OH 45202
Attorneys for Defendant Center for Advanced Spine Technologies, Inc.




                                            s/Michael J. Gray




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